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12   Mongol Nation

13
14                               UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA
15
16                                             )   Case No.: CR 13 00106 DOC
     United States of America                  )
17
           Plaintiff,                          )   DEFENDANT’S AMENDED
18                                             )   WITNESS LIST
19   vs.                                       )
                                               )   Hearing Date: June 6, 2022
20                                             )   Hearing Time: 1:30 p.m.
21   Mongol Nation,                            )   Courtroom: 9D
          Defendant.                           )   Judge: Honorable David O. Carter
22                                             )
23                                             )
24
25   I.    INTRODUCTION
26
           Defendant Mongol Nation hereby submits its amended list of non-expert witnesses
27
28   it may use at the June 6, 2022, hearing. This is the Defendant’s Amended Witness List.
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31                                                   1
32                                    Defendant’s Amended Witness List
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 1
     The Defense will also be looking for more witnesses. We reserve the right to supplement

 2   this list with new witnesses.
 3
     II.      WITNESSES
 4
 5         1. John Ciccone
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           2. David Santillan
 7
 8
           3. Annie Santillan

 9         4. Brittany Santillan*
10
           5. Christopher Cervantes
11
12         6. Mark Torres
13
           7. Unknown Federal Marshal Roe
14
15
           8. James A. Viney*

16         9. Andrea X. Ales*
17
           10. Joseph A. Yanny*
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19         11. Dieutinh Yanny*
20
           12. Al Cavazos*
21
22
           13. Doc Cavazos*

23         14. Richard A. Gutierrez
24
           15. Steven Welk*
25
26         16. Christopher Brunwin*
27
           17. Stephen Stubbs*
28
29         18. Mariana Van Zeller*
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31                                                   2
32                                    Defendant’s Amended Witness List
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 1
         19. Chantel Martinez*

 2       20. Richard Corvera*
 3
         21. Johana Flores*
 4
     *An asterisk shall be placed next to the names of those witnesses whom the party may call only if the need arises.
 5
 6
 7                                                         Respectfully submitted,
 8
 9   Dated: June 1, 2022                                   By:      /s/ Joseph A. Yanny
                                                                    JOSEPH A. YANNY
10
                                                                    YANNY & SMITH
11                                                                  Attorneys for Defendant, Mongol Nation
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32                                                Defendant’s Amended Witness List
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